     Case 1:20-cr-00003-JRW Document 6 Filed 02/17/20 Page 1 of 2 PageID #: 9




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                               BOWLING GREEN DIVISION

UNITED STATES OF AMERICA,

               PLAINTIFF,

v.                                                    CIVIL ACTION NO. 1:20-CR-3-GNS
H. HARRIS PEPPER, JR.,                                Electronically Filed
               DEFENDANT.


                      NOTICE OF ENTRY OF APPEARANCE

        Marc S. Murphy and Joshua F. Barnette of the law firm Stites & Harbison, PLLC, hereby

enter their appearance of record on behalf of the Defendant H. Harris Pepper, Jr.

                                                  Respectfully submitted,

                                                  STITES & HARBISON, PLLC


                                                  /s/ Marc S. Murphy
                                                  Marc S. Murphy
                                                  mmurphy@stites.com
                                                  400 West Market Street, Ste. 1800
                                                  Louisville, KY 40202-3352
                                                  (502) 587-3400

                                                  Joshua F. Barnette
                                                  jbarnette@stites.com
                                                  250 West Main Street, Ste. 2300
                                                  Lexington, KY 40507-1758
                                                  (859) 226-2300

                                                  Counsel for Defendant, H. Harris Pepper, Jr.
  Case 1:20-cr-00003-JRW Document 6 Filed 02/17/20 Page 2 of 2 PageID #: 10




                               CERTIFICATE OF SERVICE

       I hereby certify that on February 17, 2020, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to the
following: Bryan R. Calhoun, Assistant United States Attorney, 717 West Broadway, Louisville,
Kentucky 40202.



                                                   /s/ Marc S. Murphy




                                               -2-
